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                           UNITED ST ATES DISTRICT COURT

                              DISTRICT OF SOUTH CAROLINA

                          ANDERSON/GREENWOOD DIVISION




UNITED STATES OF AMERICA

               vs.                                       CASE NO. 8:19CR181-   S
 Ri cl,0--rd      LO-.rY'o"'d Lon:f hor~


                                             PLEA


        The   Defendant,R,icbwd    Uml>r.cl ~jsk, r~ pleads   GUILTY in open court as to

count( s)     I      of the superseding indictment.




                                                                   Defendant




Spartanburg, South Carolina
8/28/2019
